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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND
                                          Northern Division



    RON L. LACKS, PERSONAL
    REPRESENTATIVE OF THE ESTATE OF
    HENRIETTA LACKS,

                              PLAINTIFF,                                    Case No. 1:21-cv-02524-DLB

            v.

    THERMO FISHER SCIENTIFIC INC.,

                              DEFENDANT.


     AMICI CURIAE BRIEF OF THE LAWYERS’ COMMITTEE FOR CIVIL RIGHTS
    UNDER LAW, THE NATIONAL HEALTH LAW PROGRAM, AND THE NATIONAL
      WOMEN’S LAW CENTER IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED
                                COMPLAINT

                                             I.       INTRODUCTION

          Defendant Thermo Fisher Scientific (“TFS”), a multi-billion-dollar biotechnology

corporation,1 Second Am. Civil Compl. and Req. for Jury Trial (hereinafter “Sec. Am. Compl.”)

⁋ 1, has been unjustly enriched by its ongoing commercialization and sale of HeLa cells. The

unethical origins of HeLa cells are well known by TFS, yet it continues to commercialize them

today. In the 1950’s, white physicians at Johns Hopkins Hospital regularly conducted non-

consensual, non-therapeutic research on patients in the public ward, which had a large population

of indigent Black patients. Sec. Am. Compl. ⁋ 3, 30. This research included harvesting tissue

samples from indigent Black patients to develop a cell line that could survive indefinitely in


1
  In deciding a motion to dismiss, all well-pled facts are taken as true, and all reasonable inferences taken from those
facts are drawn in the plaintiff’s favor. See Harrell v. Freedom Mortg. Corp., 976 F.3d 434, 439 n.5 (4th Cir. 2020)
(citation omitted).


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laboratory conditions. Id. ⁋ 24–26. While providing treatment for cervical cancer at Johns

Hopkins, doctors cut out tissue from Henrietta Lacks’s cervix for their research purposes without

her knowledge or consent, while she was unconscious and under anesthesia. Id. ⁋ 30–33. The

procedure, which had no medical benefit to Mrs. Lacks, left her infertile. Id. ⁋ 5. She died several

months later, never learning that her cells had been used to develop the world’s first “immortal”

cell line. Id. ⁋ 38.

        TFS’s enrichment from HeLa cells is unjust because it originated from wrongful conduct

that not only breached duties owed to Mrs. Lacks by her doctors, but was enabled by the historic,

systemic disregard of legal principles regarding medical experimentation as to Black, low-income,

and other systemically oppressed groups. TFS’s continued profit from the sale of HeLa cells

creates a new injury every time it excludes the Lacks Estate from any economic benefit, and

perpetuates an ongoing economic injustice which deserves judicial resolution.

        In its Motion to Dismiss, TFS relies on the same logic that was used to justify the medical

experimentation on Mrs. Lacks to defend its continued economic dispossession of the Estate today.

TFS asks the Court to apply discriminatory norms from the 1950’s that allowed the nonconsensual

harvesting of Mrs. Lacks’s cells, and to ignore consent laws and medical experimentation

principles that should have protected Mrs. Lacks at the time. TFS further seeks to insulate itself

by pointing to the widespread commercial use of HeLa cells by the medical research community,

and to the benefits to the greater public good that have resulted from the medical experimentation

on Mrs. Lacks. The implications of TFS’s argument are that individuals and entities may continue

to profit from materials obtained illegally and as a result of systemic discrimination, despite

knowing about their unlawful and unethical origins before acquiring such materials. If the Court




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accepts TFS’s arguments here, other beneficiaries of historic injustices will be emboldened to

continue to shirk their duty to pay for the value of benefits unjustly obtained.


                                    II.    LEGAL ARGUMENT

   A. TFS’S ENRICHMENT FROM HELA CELLS IS “UNJUST” IN LIGHT OF THE
      HISTORICAL DISCRIMINATION AT ISSUE IN THIS CASE

       The Estate has stated a claim for unjust enrichment and TFS’s Motion should be denied.

In Maryland, “[u]njust enrichment consists of three elements: (1) A benefit conferred upon the

defendant by the plaintiff; (2) An appreciation or knowledge by the defendant of the benefit; and

(3) The acceptance or retention by the defendant of the benefit under such circumstances as to

make it inequitable for the defendant to retain the benefit without the payment of its value.” Hill

v. Cross Country Settlements, LLC, 936 A.2d 343, 351 (Md. 2007) (citations omitted). TFS has

profited from HeLa cells, and, in describing the extent of the benefit to the scientific community,

its Motion makes clear it has “an appreciation or knowledge” of the benefit. Sec. Am. Compl. ⁋

47; Def.’s Mot. to Dismiss at 4–6, 18 (Civil Docket No. 18) (hereinafter “Mot.”). “The final

element of an unjust enrichment claim is a fact-specific balancing of the equities. The task is to

determine whether the enrichment is unjust.” Hill, 936 A.2d at 355 (internal quotations and

citations omitted). The historical facts underpinning TFS’s commercialization of HeLa cells

demonstrate its enrichment is unjust.

       As shown below, the scientific community has long perpetuated egregious medical

injustice against nonconsenting, often unknowing individuals, who were disproportionately Black,

low-income, or living at the intersection of those identities. Because TFS is a direct benefactor of

those historical wrongs, principles of justice and fairness embedded in Maryland law dictate that

the Estate receive compensation for the use of Mrs. Lacks’s cells. See Bank of Am. Corp. v.




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Gibbons, 918 A.2d 565, 569 (Md. Ct. Spec. App. 2007) (“The doctrine of unjust enrichment is

applicable where the defendant, upon the circumstances of the case, is obliged by the ties of natural

justice and equity to refund the money, and gives rise to the policy of restitution as a remedy.”)

(internal quotations and citations omitted); County Comm’rs v. J. Roland Dashiell & Sons, Inc.,

747 A.2d 600, 607 (Md. 2000) (“Unjust enrichment . . . provide[s] relief for a plaintiff when an

enforceable contract does not exist but fairness dictates that the plaintiff receive compensation for

services provided.”) (internal quotations, punctuation, and citations omitted).2                      Here, TFS’s

enrichment from HeLa cells is inexorably linked to systemic and historical medical abuse, and

justice demands denial of its Motion and compensation to the Estate.

         1. TFS’s enrichment relies on acts enabled and sanctioned by systemic
            discrimination.

         TFS’s enrichment from HeLa cells cannot be divorced from the racial and class-based

discrimination which allowed the medical research community to disregard medical consent

principles and laws with respect to historically marginalized people for centuries. The seizure,

experimentation, and, now, commercialization of Mrs. Lacks’s cervical cells are intertwined with

an age-old practice of medical exploitation of people, who are disproportionately poor, Black, and

Indigenous. As explained in The Immortal Life of Henrietta Lacks:

          Like many doctors of his era, TeLinde [who extracted Ms. Lacks’s cells] often
          used patients from the public wards for research, usually without their knowledge.

2
  Contrary to TFS’s contention, whether TFS played a part in the nonconsensual harvesting of Mrs. Lacks’ cells is
not determinative in a claim for unjust enrichment. See Bank of Am. Corp., 918 A.2d at 571-73 (citing Plitt v.
Greenberg, 219 A.2d 237 (Md. 1966) and the Restatement of Restitution to support holding that a cause of action
for unjust enrichment may lie against a transferee with whom the plaintiff had no contract, transaction, or dealing,
either directly or indirectly). Indeed, TFS’s ongoing commercialization of cells that were wrongfully extracted by
Mrs. Lacks’s doctors is the type of situation that the Restatement seeks to address. See Restatement (Third) of
Restitution and Unjust Enrichment § 43 (Am. L. Inst. 2011) (“Benefits derived from a fiduciary’s breach of duty
may . . . be recovered from third parties, not themselves under any special duty to the claimant, who acquire such
benefits with notice of the breach.”). Moreover, because TFS took possession of the HeLa cells with knowledge of
the widely-publicized circumstances of their wrongful origins, it cannot claim the protection afforded to bona fide
purchasers. See Fishman v. Murphy ex rel. Est. of Urban, 72 A.3d 185, 192 (Md. 2013) (stating elements and
burden of proof for bona fide purchaser defense in real property case).


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         Many scientists believed that since patients were treated for free in the public
         wards, it was fair to use them as research subjects as a form of payment. And as
         Howard Jones once wrote, ‘Hopkins, with its large indigent black population, had
         no dearth of clinical material.’3

        Lower income people, who were disproportionately Black, were more likely to encounter

physicians willing to conduct non-therapeutic and nonconsensual research or experimentation on

their bodies, often when in need of medical care. Indeed, a great portion of early American medical

research is founded upon nonconsensual experimentation upon systemically oppressed people:

        Southern medicine of the eighteenth and early nineteenth centuries was harsh,
        ineffective, and experimental by nature. Physicians’ memoirs, medical journals,
        and planters’ records all reveal that enslaved [B]lack Americans bore the worst
        abuses of these crudely empirical practices, which countenanced a hazardous
        degree of ad hoc experimentation in medications, dosages, and even spontaneous
        surgical experiments in the daily practice among slaves.4

         Illustrative of this, James Marion Sims has been deemed the “Father of Gynecology”

following his nonconsensual, horrific, and life-threatening experimentation on female slaves to

find a cure for childbirth complications.5

        As discussed in the Lancet:

        Medical schools relied on enslaved Black bodies as “anatomical material” and
        recruited students in southern states by advertising its abundance. This practice was
        widespread in the 19th and early 20th centuries. American medical education relied
        on the theft, dissection, and display of bodies, many of whom were Black.6

        Dehumanizing medical research did not end with slavery, and was, in many ways,

sanctioned by the United States government. For example, the United States Public Health Service

denied medical treatment to nearly 400 Black men with syphilis in order to track the disease’s full



3
  Rebecca Skloot, The Immortal Life of Henrietta Lacks 29 (Crown ed. 2010).
4
  Harriet A. Washington, Medical Apartheid: The Dark History of Medical Experimentation on Black Americans
from Colonial Times to the Present 29 (Harlem Moon 2008).
5
  Vanessa Northington Gamble, Under the Shadow of Tuskegee: African Americans and Health Care, 87 Am. J.
Pub. Health 1773, 1774 (1997), https://ajph.aphapublications.org/doi/epdf/10.2105/AJPH.87.11.1773;
6
  Ayah Nuriddin et al., Reckoning with Histories of Medical Racism and Violence in the USA, 396 The Art of
Medicine 949, 949 (2020), https://doi.org/10.1016/S0140-6736(20)32032-8.


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progression during the Tuskegee experiment.7 Moreover, the federal Indian Health Service

conducted nonconsensual ophthalmological research on Indigenous children in boarding schools

in the 1960’s and 1970’s and forcibly sterilized 3,406 Indigenous women between 1973 and 1976.8

The United States government, in partnership with Johns Hopkins, also engaged in a medical

experimentation program in the 1940’s and 1950’s where they deliberately and non-consensually

infected both prisoners in the United States and over 5,000 Guatemalans with sexually transmitted

diseases in order to test the preventative qualities of penicillin.9

        This sort of inhumane medical experimentation was particularly rampant in Baltimore

during the decades before and after the facts underlying this case. Doctors there reportedly robbed

Black graves for dissection during the 1800’s.10 In 1970’s Baltimore, researchers funded by the

National Institute of Health induced young Black boys into giving their blood to screen for anemia

and other medical problems, but instead used it to conduct genetic testing to determine whether

they would be criminals later in life.11 More recently, Baltimore families alleged that the Kennedy

Krieger Institute, a research institution associated with Johns Hopkins, knowingly allowed their

children living in public housing to sustain lead poisoning as part of a nontherapeutic

experimentation project to test the effectiveness of partial lead paint remediation in the 1990’s.

Grimes v. Kennedy Krieger Inst., Inc., 782 A.2d 807, 817 (Md. 2001).


7
  Allan M. Brandt, Racism and Research: The Case of the Tuskegee Syphilis Study 21 (The Hastings Center 1978)
https://dash.harvard.edu/bitstream/handle/1/3372911/Brandt_Racism.pdf?sequence
8
  U.S. Gov’t Accountability Off., HRD-77-3, Investigation of Allegations Concerning Indian Health Service 3
(1976), https://www.gao.gov/assets/hrd-77-3.pdf. ; 1976: Government Admits Unauthorized Sterilization of Indian
Women, Nat’l Libr. of Med., https://www.nlm.nih.gov/nativevoices/timeline/543.html (last visited Feb. 18, 2022).
9
  Michael A. Rodriguez and Robert Garcia, First, Do No Harm: The US Sexually Transmitted Disease Experiments
in Guatemala, 103 Am. J. Pub. Health 2122, 2122 (2013), https://tinyurl.com/yckk4ke4.
10
   Gamble, supra; David C. Humphrey, Dissection and Discrimination: The Social Origins of Cadavers in America,
49 Bull. N.Y. Acad. Med. 819 (1973), https://tinyurl.com/4vtrvp43
11
   Diane Bauer, Maryland Tests for Criminal Potential, Washington Daily News, January 22, 1970, reprinted in Jay
Katz et al., Experimentation with Human Beings: The Authority of the Investigator, Subject, Profession, and State in
the Human Experimentation Process 342–44 (Russell Sage Found. 1972),
https://www.russellsage.org/sites/default/files/ExHB-part1.pdf Special Supplement: The XYY Controversy:
Researching Violence and Genetics, 10 The Hastings Ctr. Rep. 1, 4 (1980), https://doi.org/10.2307/3560454.


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        The systemic nature of the nonconsensual, non-therapeutic medical experimentation

conducted against Mrs. Lacks, and countless other Black people, is evidenced by the widely

documented mistrust in medicine that Black people throughout the United States, and in Baltimore

in particular, have developed.          This mistrust is directly linked to the history of medical

experimentation upon Black people, and is now a significant factor in racial health disparities. As

described in a PBS report: “In a city renowned for medical schools and research, there’s a striking

contrast in the dismal health and life expectancy in some Baltimore neighborhoods. There’s a

deep distrust of the medical system among many African-American residents, dating back to the

1800s.”12

        TFS acknowledges the history surrounding the nonconsensual taking, cultivation, and

commercialization of Mrs. Lacks’s cells, Mot. at 4, but nonetheless claims it is the rightful owner

of HeLa cells today. According to TFS, “different norms than today” were the reigning authority;

and her cells, which TFS now characterizes as a “resource,” have been “freely and publicly

available for the better part of a century.” Id. at 2. TFS’s contentions merely mirror the flawed

logic that underlies deeply rooted historical medical injustice.

     2. Discriminatory “norms” of the past do not insulate TFS from liability for its unjust
        enrichment today.

        TFS’s liability for unjust enrichment is, at least in part, contingent upon whether it

knowingly took possession of cells that were wrongfully procured in the first place. Rather than

acknowledge medical consent laws, TFS attempts to justify its own actions by relying on

discriminatory norms that ignored such protections, especially as applied to Black women.




12
  PBS NewsHour, Baltimore Hospitals Work to Repair Frayed Trust in Black Communities, Public Broadcasting
Service (Feb. 15, 2016), https://www.pbs.org/newshour/show/baltimore-hospitals-work-to-repair-frayed-trust-in-
black-communities.


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According to TFS, the medical assault took place “under different norms than today.” Mot. at 2.13

However, this court’s inquiry must examine the justness of TFS’s enrichment in view of relevant

laws, rather than egregious “norms” of the past. See e.g. Brown v. Board of Educ., 347 U.S. 483,

492–94 (1954) (declining to “turn the clock back to 1868 when the [Fourteenth] Amendment was

adopted, or even to 1896 when Plessy v. Ferguson was written,” and noting that its current “finding

is amply supported by modern authority”).

         The Maryland Court of Appeals has held that Maryland law, not what medical researchers

deem acceptable, should be applied to determine what is appropriate with respect to nontherapeutic

human experimentation. Grimes, 782 A.2d at 817. In Grimes, the plaintiffs brought negligence

claims against the Kennedy Krieger Institute based on lead exposure experimentation on children

living in public housing. Id. at 812-815. The Grimes court held that a special relationship exists

which imposes duties on researchers with respect to their human subjects in nontherapeutic

research projects.14 Id. at 850. The court reviewed applicable consent laws under Maryland law,

regulations, and international law and found that the consent obtained from the parents was

insufficient to justify the risk of harm to which the children were exposed. Id. at 852-57.

Reversing summary judgment, the court held that the violations of duties imposed by the law on

researchers could support the plaintiffs’ claims for negligence. Id. at 858. The application of

Maryland law, as opposed to discriminatory “norms,” is therefore the proper framework to apply

in evaluating the fairness of TFS’s benefits in this case.




13
   TFS claims that informed consent guidelines and rules did not exist until years after the unlawful removal of Mrs.
Lacks’s cells. Mot. at 2-3.
14
   In so holding, the court recognized the “likely conflict of interest between the goal of the research experimenter
and the health of the human subject, especially, but not exclusively, when such research is commercialized,” finding
that the research community is not “sufficiently concerned with the ethicality of the experiments they review as they
are with the success of the experiments.” Id. at 817, 850.


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       Medical consent laws, in fact, existed and were enforced in 1951, despite what TFS alleges

were the “norms” in existence at the time. Maryland common law unambiguously required

consent for medical procedures as long ago as the 1800’s. See State v. Housekeeper, 16 A. 382,

384 (Md. 1889) (“The consent of the wife [to surgery to remove cancerous cells in her breast], not

that of the husband, was necessary.”); McClees v. Cohen, 148 A. 124, 127 (Md. 1930) (citing

cases involving the issue of consent in medical negligence and other tort claims, and finding that

plaintiff would be entitled to a favorable verdict if dentist extracted two bottom teeth “in violation

of her instructions and without her consent”).

       Indeed, by 1951, the legality of informed consent had become part of international common

law. In 1947, following the adjudication of Nazi atrocities involving human experimentation

during World War II, an American military tribunal in the case of United States v. Brandt adopted

the Nuremberg Code, the “most complete and authoritative statement of the law of informed

consent to human experimentation.” Grimes, 782 A.2d at 835 (internal citations and punctuation

omitted). It “requires that the informed, voluntary, competent, and understanding consent of the

research subject be obtained,” along with nine other conditions that must be satisfied before

consent can even be requested. Id. As the Maryland Court of Appeals observed in Grimes, the

Nuremberg Code may be applied, in both civil and criminal cases, by state, federal, and municipal

courts in the United States, though it had not been frequently used by courts, in part because cases

of medical experimentation were not litigated until decades later. Id. at 835–36 (internal citations

omitted).

       In addition to various rights under Maryland common law, there is also no question that a

portion of TFS’s profits are derived from an egregious violation of Mrs. Lacks’s fundamental

rights. As Justice Stevens’ concurring opinion in Washington v. Harper noted, “[e]very violation




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of a person’s bodily integrity is an invasion of his or her liberty. The invasion is particularly

intrusive if it creates a substantial risk of permanent injury and premature death. Moreover, any

such action is degrading if it overrides a competent person’s choice to reject a specific form of

medical treatment.” Washington v. Harper, 494 U.S. 210, 237 (1990) (Stevens, J., concurring)

(citing Doe v. Bolton, 410 U.S. 179, 213 (1973) (Douglas, J., concurring) (the Fourteenth

Amendment protects the “freedom to care for one’s health and person” (emphasis deleted)). And,

where the military secretly administered LSD to a serviceman for experimentation in United States

v. Stanley, Justice O’Connor stated that:

       No judicially crafted rule should insulate from liability the involuntary and
       unknowing human experimentation alleged to have occurred in this case . . . the
       “voluntary consent of the human subject is absolutely essential . . . to satisfy moral,
       ethical and legal concepts.” If this principle is violated the very least that society
       can do is to see that the victims are compensated, as best they can be, by the
       perpetrators.

United States v. Stanley, 483 U.S. 669, 709–10 (1987) (O’Connor, J., dissenting) (quoting United

States v. Brandt (The Medical Case), 2 Trials of War Criminals Before the Nuremberg Military

Tribunals Under Control Council Law No. 10, p. 181 (1949)).

       Today, Maryland law requires more than consent, but “full and continuous disclosure,”

especially where financial conflicts of interest exist and research subjects are vulnerable. Grimes,

782 A.2d at 851. In deciding whether Plaintiff has stated a claim for unjust enrichment, this Court

should not look to unethical norms of the past, but to these laws, which not only respect and uphold

Mrs. Lacks’s bodily autonomy, but also her ongoing interest in her cells today.

   3. The widespread use and exploitation of HeLa cells does not negate TFS’s liability.

       TFS suggests that the “widespread reliance on HeLa cells” and their function as “an

essential resource for medical research labs worldwide” make it untenable to state a claim against

TFS. Mot. at 18–19. As the Grimes court highlighted, “[u]tilitarianism was the ethic of the day”—



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a framework that medical researchers disproportionately applied to systemically oppressed people,

and which TFS espouses in defense of its actions here. Grimes, 782 A.2d at 836 (citations

omitted).

       That the medical research community routinely acquires and distributes HeLa cells without

consent “for the greater good” does not justify TFS’s conduct. See id. at 815 (finding that research

cannot be appropriate and the actions of researchers cannot be proper “[i]f the research methods,

the protocols, are inappropriate”).    In Grimes, the Maryland Court of Appeals found that

nonconsensual research was not excused simply because “the experiment was . . . a ‘for the greater

good’ project.” Id. Scientific advancements made at the expense of the subject cannot be divorced

from the real impacts on the subject’s bodily autonomy:

       It is essential to recognize that society’s interest in knowledge may not coincide
       with an individual subject’s interest; the individual subject stands to gain nothing
       and lose everything, including his or her right of self–determination ... Researchers,
       under competitive pressure and also financial pressure from corporate backers,
       operate under a paternalistic approach to research subjects, asserting professional
       expertise and arguing experimental necessity while minimizing the right to self-
       determination—a key aspect of the exercise of autonomy—of their subjects. The
       result is a greater or lesser degree of ethical effacement.

Id. at 839 (citing Jeffrey H. Barker, Human Experimentation and the Double Facelessness of a

Merciless Epoch, 25 N.Y.U. Rev. Law & Soc. Change 603, 617–20 (1999)). Here, too, TFS cannot

avoid liability by insulating a system that has exploited Black bodies in the name of medical

progress for centuries.

   B. THE COURT SHOULD ALLOW PLAINTIFF’S CASE TO PROCEED BECAUSE
      TFS’S WRONGFUL CONDUCT IS ONGOING AND CONSTITUTES A
      CONTINUING HARM.

       In evaluating whether the Estate has alleged facts to show its claim is timely, it is important

to consider the nature of the claim. Each time TFS sells and retains the profits from HeLa cells

without consent and without justly compensating Plaintiff, this activity constitutes a new instance



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of unjust enrichment and the statute of limitations runs anew. See Virginia Hosp. Ass’n v. Baliles,

868 F.2d 653, 663 (4th Cir. 1989), aff’d sub nom. Wilder v. Virginia Hosp. Ass’n, 496 U.S. 498

(1990) (where the plaintiff alleged an ongoing violation, the statute of limitations would not have

begun to run until the violation ended); see also Palmer v. Board of Educ., 46 F.3d 682, 685–686

(7th Cir. 1995) (“A wrongful act does not mark the accrual of a claim, however; the time begins

with injury rather than with the act that leads to injury . . . A series of wrongful acts [] creates a

series of claims.”). In addition, the continuous sale of Mrs. Lacks’ living tissue without her

Estate’s permission, consent, or any form of compensation, is precisely the kind of ongoing

wrongful conduct that the continuing violations doctrine is designed to protect against. See

generally Litz v. Maryland Dep’t of Env’t, 76 A.3d 1076, 1089 (Md. 2013) (explaining continuing

violations doctrine).

       A district court in New York found ongoing violations where, as in this case, there has

been a “continued denial of assets.” Bodner v. Banque Paribas, 114 F. Supp. 2d 117, 134

(E.D.N.Y. 2000). In Bodner v. Banque Paribas, Holocaust survivors alleged unjust enrichment,

claiming that the defendant banks’ “refusal and failure to return the looted assets improperly

deprived plaintiffs of their property and afforded defendants a substantial windfall from over fifty

years of interest and investment returns.” Id. at 122. The court ultimately rejected defendants’

statute of limitations defense, holding that the plaintiffs’ claims were not time-barred because

defendants’ continued failure to return plaintiffs’ assets, and denial of information about the assets,

constituted a continuing violation of international law. Id. at 134–35. Similarly, in the present

case, the Estate’s claim should not be dismissed as time-barred because of the nature of TFS’s

ongoing nonconsensual commercialization and sale of HeLa cells.




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        Contrary to Defendant’s position, TFS’s ongoing enrichment is not merely a “continuing

ill effect,” Mot. at 17, but constitutes a present and ongoing economic harm. The longer TFS fails

to compensate Plaintiff, the greater the magnitude of Plaintiff’s economic harm. While the sale of

HeLa cells has contributed to TFS’s $32.22 billion in revenue, Mrs. Lacks’s own family has

received nothing.15

        Both TFS’s conduct and its defenses of this conduct are emblematic of practices and

policies that have contributed to the historical wealth-stripping of Black communities in the United

States. Courts have recognized the compounding effect of historically discriminatory policies on

generational wealth. See, e.g., Vitolo v. Guzman, 999 F.3d 353, 371, n.8 (6th Cir. 2021) (noting

that “a long tradition of intentional discrimination by the federal government in housing and

banking . . . created generational wealth and stability for white families and generational poverty

and instability for African-Americans and other people of color.”). As stated in a report from the

Center for American Progress, “the Black-white wealth gap is not an accident but rather the result

of centuries of federal and state policies that have systematically facilitated the deprivation of

Black Americans.”16 The role of private businesses, such as TFS, in enabling and perpetuating

these disparities cannot be ignored.                Notably, “private businesses and governments

institutionalized racism and discrimination. They also encouraged and sanctioned violence

targeting Black lives and property.”17           TFS’s ongoing profit from HeLa cells without just

compensation to Plaintiff compounds the impact of these historical harms.

        As discussed above, Mrs. Lacks was specifically vulnerable to medical exploitation by

virtue of her status as a poor, Black woman living under the “norms” of the 1950’s. These same


15
   Compl. ⁋ 38.
16
   Christian E. Weller & Lily Roberts, Eliminating the Black-White Wealth Gap is a Generational Challenge, Center
for American Progress (Mar. 19, 2021), https://tinyurl.com/5b4ehx2a.
17
   Id.


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identities are also what made her and her family vulnerable to structural economic exploitation

and dispossession, which continues to harm the Estate today. Given the reality that HeLa cells are

widely available in the public domain, are likely to continue to be sold for profit, and have already

begot substantial profits, the Estate should not be denied the opportunity to share in these economic

benefits and accrue the generational wealth of which they have thus far been robbed. In light of

TFS’s ongoing denial of economic benefit to the Estate, Plaintiff’s claim should not be time-

barred.

                                        III.    CONCLUSION

          For the foregoing reasons, Defendant’s Motion to Dismiss should be denied in its entirety.

Dated: February 24, 2023.


                                        Respectfully submitted,


                                        /s/_Dorian L. Spence
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                                 CERTIFICATE OF SERVICE


       I hereby certify that the foregoing documents were filed through CM/ECF system and

will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing (NEF) on February 24, 2023.



                                                       /s/ Dorian L. Spence
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